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 5   Attorneys for Plaintiff
     JAMES SHAYLER
 6
 7
                            UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9
10
      JAMES SHAYLER, an individual,            Case No.: 2:21-cv-02560-GW-E
11
12         Plaintiff,                          Hon. George H. Wu

13    V.                                       NOTICE OF VOLUNTARY
14                                             DISMISSAL WITH PREJUDICE
      FOOTGOULD I, LLC, a California           PURSUANT TO FEDERAL RULE
15    limited liability company; and DOES      OF CIVIL PROCEDURE
16    1-10, inclusive,                         41(a)(1)(A)(i)

17         Defendants.                         Complaint Filed: March 24, 2021
18                                             Trial Date: None

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                        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
Case 2:21-cv-02560-GW-E Document 14 Filed 06/21/21 Page 2 of 2 Page ID #:43

 1         TO THE COURT AND ALL PARTIES:
 2         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
 3   Plaintiff James Shayler (“Plaintiff”) requests that this Court enter a dismissal with
 4   prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety. Each
 5   party shall bear his or its own costs and attorneys’ expenses.
 6
 7                                         Respectfully submitted,
 8
 9    DATED: June 21, 2021                 MANNING LAW, APC

10                                         By: /s/ Joseph R. Manning, Jr.
                                             Joseph R. Manning, Jr.
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                                             Attorney for Plaintiff
12                                           James Shayler
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                    NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
